                          Case 20-32438 Document 1 Filed in TXSB on 05/04/20 Page 1 of 13


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           02/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Permico Midstream Partners LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  9301 Southwest Freeway, Suite 308
                                  Houston, TX 77074
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.permicoenergia.com/


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                           Case 20-32438 Document 1 Filed in TXSB on 05/04/20 Page 2 of 13
Debtor    Permico Midstream Partners LLC                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2111

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                  proceed under Subchapter V of Chapter 11.
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                Case number
                                                 District                                 When                                Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     Permico Midstream Partners Holdings, LLC                      Relationship              Parent
                                                            Southern District of
                                                 District   Texas                         When                            Case number, if known



Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                            Case 20-32438 Document 1 Filed in TXSB on 05/04/20 Page 3 of 13
Debtor   Permico Midstream Partners LLC                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of
    creditors
                                 1-49                                           1,000-5,000                               25,001-50,000
                                 50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                         Case 20-32438 Document 1 Filed in TXSB on 05/04/20 Page 4 of 13
Debtor    Permico Midstream Partners LLC                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      05/04/2020
                                                  MM / DD / YYYY


                             X    /s/ Bryan M. Gaston                                                     Bryan M. Gaston
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Restructuring Officer




18. Signature of attorney    X    /s/ Timothy A. ("Tad") Davidson II                                       Date 05/04/2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Timothy A. ("Tad") Davidson II
                                 Printed name

                                 Hunton Andrews Kurth LLP
                                 Firm name

                                 600 Travis Street, Suite 4200
                                 Houston, TX 77002
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      (713) 220-4200               Email address      taddavidson@HuntonAK.com

                                 24012503 TX
                                 Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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                          Case 20-32438 Document 1 Filed in TXSB on 05/04/20 Page 8 of 13


      Fill in this information to identify the case:

                   Permico Midstream Partners Holdings, LLC, et al.
      Debtor name __________________________________________________________________
                                               Southern
      United States Bankruptcy Court for the: ______________________              Texas
                                                                     District of _________

      Case number (If known):   _________________________
                                                                              (State)
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders* (*See Rider A)                                                                                                   12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete          Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff

1     Corpac Steel Products Corp.           Jorge Woldenberg                  Trade                                                                     $95,782,042.84
      20803 Biscayne Blvd, Suite 502        (305) 918-0540
      Miami, FL 33180

2     Edgen Murray Corporation              Dan O'Leary, Greg Baker           Trade                                                                     $81,657,931.70
      10370 Richmond Ave, Suite 900         (713) 268-7200
      Houston, TX 77042

3     Contract Land Staff                   President, General Counsel        Trade                                                                      $2,251,922.00
      2245 Texas Drive, Suite 200           (281) 240-3370
      Sugar Land, TX 77479                  Info@contractlandstaff.com

4     Topographic Land Surveyors            President, General Counsel        Trade                                                                        $693,355.00
      1400 Everman Pkwy, Ste 146            (817) 744-7512
      Fort Worth, TX 76140

5     Tarsco Construction Corporation       Marienna Medina                  Trade                                                                         $690,912.00
      25000 Pitkin Rd.                      (832) 299-3200
      Spring, TX 77386

6     Oso Developmental Partners           President, General Counsel and Trade                                                                             $671,586.00
      10300 Town Park Dr. SE 1000          Jason Holland
      Houston, TX 77072                    jason.holland@osopartners.com
                                           info@osopartners.com
7     Universal Pegasus International       President, General Counsel        Trade                                                                        $603,832.00
      4848 Loop Central Dr., Suite 137      (713) 425-6000
      Houston, TX 77081

8     Prime                                                                   Trade                                                                        $483,152.00




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                   page 1
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    Debtor        Permico Midstream Partners Holdings, LLC, et al.
                 _______________________________________________________                        Case number (if known)_____________________________________
                 Name




     Name of creditor and complete          Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code    email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional           unliquidated,   total claim amount and deduction for value of
                                                                          services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                 Total claim, if    Deduction for       Unsecured
                                                                                                                 partially          value of            claim
                                                                                                                 secured            collateral or
                                                                                                                                    setoff

9     King & Spalding LLP                   General Counsel and           Legal                                                                          $189,452.00
      1100 Louisiana St., #4000             Tracie J. Renfroe
      Houston, TX 77002                     (713) 751-3200

10 Whitenton Group                         President, General Counsel     Trade                                                                          $175,868.00
      3413 Hunter Road                     (512) 353-3344
      San Marcos, TX 78666

11 Wood Mackenzie
                                            Anthea Pitt                   Trade                                                                          $175,000.00
      5847 San Felipe                       (713) 470-1600
      10th Floor, Suite 100
      Houston, TX 77057
12 Percheron                          Sidney Armer                        Trade                                                                            $92,968.00
     1904 W. Grand Parkway N, Ste 200 (888) 232-3149
     Katy, TX 77449

13 Spearow Land LLC                        Clint Spearow                   Trade                                                                           $48,000.00
      P.O. Box 17867                       (832) 844-1613
      Sugar Land, TX 77496                 sales@spearowland.com

14 Hillco Partners                          President, General Counsel     Consulting                                                                      $21,000.00
      823 Congress Ave., #900               (512) 480-8962
      Austin, TX 78701
                                           Thomas A. Dickinson
15 Dickinson & Wheelock, P.C.              Jeffrey W. Wheelock            Professional                                                                     $13,475.00
      7660 Woodway Dr., Suite 460          (713) 722-8118                 Services
      Houston, TX 77063                    tdickinson@dwlegal.com
                                           jwheelock@dwlegal.com
16 DrillingInfo / Enverus                  Jeff Hughes                     Trade                                                                           $12,952.00
      2901 Via Fortuna #200                (800) 282-4245
      Austin, TX 78746                     drillinginfosupport@enverus.com

17 Hyde Regulatory Consulting LLC           Richard Hyde                   Consulting                                                                       $6,000.00
     1561 Ruby Ranch Road                   (512) 312-4012
     Buda, TX 78610

18 Horizon Environmental Services, Inc. Russ Brownlow                     Trade                                                                              $2,495.00
     1507 S. Interstate 35                  (512) 328-2430
     Austin, TX 78741-2502                  info@horizing–esi.com

19




20




    Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                  page 2
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 Debtor           Permico Midstream Partners Holdings, LLC, et al.
                 _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff

21




22




23




24




25




26




27




28




29




30




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                   page 3
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                               § Chapter 11
    In re:                                                     §
                                                               § Case No. 20-[_____] (___)
    PERMICO MIDSTREAM PARTNERS                                 §
    HOLDINGS, LLC, et al.,                                     § (Joint Administration Requested)
                                                               §
                    Debtors.1                                  §

                              CORPORATE OWNERSHIP STATEMENT*

        To the best of the declarant’s knowledge, the following is a list of entities that directly or
indirectly own 10% or more of any class of debtor Permico Midstream Partners LLC’s equity
interests. This list is prepared in accordance with Fed. R. Bankr. P. 1007(a)(1) and Fed. R. Bank.
P. 7007.1 in this chapter 11 case.

             Entity                                                   Percentage of Ownership
             Permico Midstream Partners Holdings, LLC                            100%


                               LIST OF EQUITY SECURITY HOLDERS*

       To the best of the declarant’s knowledge, the following is a list of debtor Permico
Midstream Partners LLC’s equity security holders. This list has been prepared in accordance with
Fed. R. Bankr. P. 1007(a)(3) for filing in this chapter 11 case.

    Entity                                  Percentage of              Last Known Address of Holder
                                            Ownership
    Permico Midstream Partners                    100%                 9301 Southwest Freeway, Suite 308
    Holdings, LLC                                                      Houston, TX 77074


*See Rider A.




1
    The Debtors in these chapter 11 cases and the last four digits of their federal tax identification numbers are as
    follows: Permico Midstream Partners Holdings, LLC (6374) and Permico Midstream Partners LLC (7902). The
    location of the Debtors’ corporate headquarters and service address is 9301 Southwest Freeway, Suite 308, Houston,
    TX 77074.
                      Case 20-32438 Document 1 Filed in TXSB on 05/04/20 Page 12 of 13

 Fill in this information to identify the case and this filing:


              Permico Midstream Partners LLC
 Debtor Name __________________________________________________________________
                                         Southern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         ■
             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ■
             Other document that requires a
                                                           Corporate Ownership Statement pursuant to Fed. R. Bankr. P. 70007.1; and
                                                      List of Equity Security Holders pursuant to Fed. R. Bankr.
              declaration__________________________________________________________________________________        P. 1007(a)(3).*


        I declare under penalty of perjury that the foregoing is true and correct.          6HH5LGHU$

                    05/04/2020
        Executed on ______________                         8 /s/ Bryan M. Gaston
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Bryan M. Gaston
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                               § Chapter 11
    In re:                                                     §
                                                               § Case No. 20-[_____] (___)
    PERMICO MIDSTREAM PARTNERS                                 §
    HOLDINGS, LLC, et al.,                                     § (Joint Administration Requested)
                                                               §
                    Debtors.1                                  §


                                                      Rider A

Statement Regarding the Debtors’ (I) Consolidated List of 30 Largest Unsecured Creditors,
      (II) Corporate Ownership Statement, and (III) List of Equity Security Holders

        Simultaneously with the filing of the Debtors’ petitions, the Debtors are filing a motion
requesting entry of an order compelling Permico Energia LLC (“Energia”), the former Manager
of Permico Midstream Partners Holdings, LLC (“Holdings”), and Energia’s directors and officers
(together with Energia, the “Former Manager”), to turn over the Debtors’ books and records,
including electronic data (collectively, the “Documents”), that the Former Manager possesses
and/or created as it relates to the Debtors’ operations, property, assets, liabilities and/or financial
affairs. As of the Petition Date, the Chief Restructuring Officer does not have access to the
Documents.

        The Debtors’ petitions, the consolidated list of thirty (30) largest unsecured creditors (the
“Unsecured Creditors’ List”), the Corporate Ownership Statement, and the List of Equity Security
Holders are true and correct to the best of the Chief Restructuring Officer’s information and belief
based upon information available as of the Petition Date. Therefore, the information contained in
such filings is subject to revision in all respects. Further, the information contained in the
Unsecured Creditors’ List, including the omission of any claim or the failure to list any claim as
contingent, unliquidated, or disputed, does not constitute a waiver of the Debtors’ right to contest
the validity, priority, or amount of any claim.




1
    The Debtors in these chapter 11 cases and the last four digits of their federal tax identification numbers are as
    follows: Permico Midstream Partners Holdings, LLC (6374) and Permico Midstream Partners LLC (7902). The
    location of the Debtors’ corporate headquarters and service address is 9301 Southwest Freeway, Suite 308, Houston,
    TX 77074.
